Case 2:04-cr-20298-SH|\/| Document 52 Filed 06/17/05 Page 1 of 5 Page|D 62

UN|TED STATES DlSTRICT COURT \F" ED BY D r,

WESTERN DlSTRlCT OF TENNESSEE ‘ `m ih
MEMPH[S DlVlSlON 95 JUH jj PH 3:|_15

UN|TED STATES OF AMER|CA ROBERT q m THOUO
ci_i:~:r:i<. 1:;&.:. oi.§:r. CT.

_v_, 2:046R20298_01_Ma W.D. {1§ iN, i‘v"r§.-MPHIS

PATR|CK L. TAYLOR
Doris RandIe-Holt FPD
Defense Attorney
200 Jefferson Avenue, #200
Memphis, TN 38103

 

 

JUDGMENT lN A CRIMINAL CASE
(For Offenses Committed On or After November1, 1987)

The defendant pleaded guilty to Count 1 of the lndictment on January 19, 2005.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & Section MM Offense Number(sj
Concluded
18 U.S.C. §2113(8) Bank RObbe|’y 07)'14f2004 ‘l

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 12/12/1962 June 17, 2005
Deft’s U.S. Marsha| No.: 19792-076

Defendant’s Mailing Address:
3264 Cherry Road, #56
Memphis, TN 38106

game

SAMUEL H. MAYS, JR.
UN|TED STATES D|STR|CT JUDGE

-a.ententared onthe docketsh tl 03 betty /7
June

v..‘ " 5 andlbr“&Z{b) FRC'P °" ___' 20 /L

 

Case 2:O4-cr-20298-SHI\/| Document 52 Filed 06/17/05 Page 2 of 5 Page|D 63

Case No: 2:O4CR20298-01-Ma Defendant Name: Patrick L. TAYLOR Page 2 of 4

lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 156 Months.

The defendant is remanded to the custody of the United States Marsha|.

RETURN

l have executed this judgment as foliows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES |V|ARSHAL
By:

 

Deputy U.S. Marsha|

Case 2:O4-cr-20298-SHl\/| Document 52 Filed 06/17/05 Page 3 of 5 PagelD 64

Case No: 2:04CR20298-01-Ma Defendant Name: Patrick L. TAYLOR Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release. the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|TIONS OF SUPERV|SION

1. The defendant shall not leave thejudicie| district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation ocher and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of aicohol and shall not purchasel possess, use,

distribute, or administer any narcotic or other controlled substancel or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soldl used,
distributed. or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation omcer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

Case 2:O4-cr-20298-SHl\/| Document 52 Filed 06/17/05 Page 4 of 5 PagelD 65

Case No: 2:04CR20298-01-Ma Defendant Name: Patrick L. TAYLOR Page 4 of 4
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such Hne or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
releases

1 . The defendant shall submit to drug & alcohol testing and treatment programs as directed by
the Probation Officer.

2. The defendant shall submit to mental health testing and treatment programs as directed by
the Probation Ofticer.

3. The defendant shelf seek and maintain full-time employment

4. The defendant shall cooperate with DNA collection as directed by the Probation Office.

CRiMlNAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00

The Specia| Assessment shall be due immediate|y.

FlNE
No fine imposed.

RESTiTUT|ON
No Restitution was ordered.

UNer sATEs DRlsTlC COURT - EsTER DlsRlTC OF TENNEssEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 2:04-CR-20298 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

Doris A. Randle-Holt

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

